                 IN THE DISTRICT COURT OF THE UNITED STATES
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             ASHEVILLE DIVISION

                                  CRIMINAL NO. 1:04CR74-5


UNITED STATES OF AMERICA                       )
                                               )
                                               )
                VS.                            )              ORDER
                                               )
                                               )
STEPHEN DALE McCLELLAN                         )
                                               )


       THIS MATTER is before the Court on the Defendant’s motion to attend the funerals of

his mother-in-law and sister scheduled for Wednesday, August 10, 2005.

       The Defendant is being detained at the McDowell County Jail in Marion, North Carolina,

awaiting sentencing. The Defendant’s mother-in-law and sister died unexpectedly over the

previous weekend and their funeral services are scheduled for Wednesday, August 10, 2005, at

11:00 a.m. for the mother-in-law and 2:00 p.m. for the sister at the Grindstaff Memorial Chapel

of Webb Funeral Home in Spruce Pine, North Carolina. The Court notes the relative close

proximity of the detention facility and the funeral home and finds that such short distance should

minimize any difficulties in complying with the Defendant’s request.

       IT IS, THEREFORE, ORDERED that the Defendant’s motion is ALLOWED, and the

United States Marshal is directed to make immediate arrangements to provide the Defendant an

opportunity to privately view or attend the funeral services of his relatives as is consistent with

current regulations of the United States Marshals Service.




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       The Clerk of Court is directed to provide copies of this Order by facsimile transmission to

the United States Marshal, the United States Attorney, and defense counsel.




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                        Signed: August 9, 2005




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